Case 2:05-cr-20208-SH|\/| Document 19 Filed 07/14/05 Page 1 of 2 Page|D 14

IN THE UNITED STATES DISTRICT COURT Fm£n!&r§%;;'o&l

FoR THE wEs'rERN DISTRICT oF TENNESSEE
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UNITED STA'I‘ES OF AMERICA,
Plaintiff,
vs. CR. NO. 05*20208-Ma

PEGGY ENGLAND JOHNSON,

Defendant.

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3l€l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 13}41 day of July. 2005.

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SAMUEL H. MAYS, JR.
UNITED STA’I‘ES DISTRICT JUDGE

 

Thls doctment entered on the docket sheet in comphance
with Ruie 55 and/or 32{b} FHCrP on " / C?

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20208 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

